Case 6:17-cv-06418-I\/|AT-|\/|WP Document 27 Filed 04/17/18 Page 1 of 1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

Michael Rech
Plaintiff(s),
MEDIA TION
CERTIFICATION
17 - cv - 06418
V.
County of Monroe, et al.
Defendant(s).
I hereby certify that:
|:| The mediation session scheduled for has been adjourned to

|:| Case settled prior to the first mediation Session.
Mediation session Was held on 04/12/2018 .
|:| Case has settled. (Comment if necessary).

|:|Case has not settled. Mediation Will continue on

 

Case has not settled. l\/Iediation is complete. The case Will proceed toward trial
pursuant to the Court's Scheduling order.

Date: 04/16/2()18 Mea'iator:/S/ Jill K. Schultz

 

Additiohal Comments:

 

 

 

 

